10
11
12
13
14
15
16
17
15
19
20
21
22
23
24
25
26
27

25

CaSe 1:08-cv-00695-BLW-I\/|HW Document 1 _ Filed 05/19/08 Page 1 of 20

Perry L. Tatmon
P.O. Box 8
Avenal, CA 93204

 

MAY 1 9 2008

PLAINTIFF iN PRo PER C
LERK u s olsTch comm

EASTERN

UNITED sTATEs DISTRICT COURTB, D'SW'CTOFC F°“N"

 

DEFUT¥ CLEHK

EASTERN DISTRICT OF CALIFORNIA
Case NO.Z_'J!'C'V-Ooé?§-éJD-M'it/

AZ U.S.C.§1983
CIVIL RIGHTS COMPLAINT
DEMAND FOR JURY TRIAL

PERRY L. TATMON
Plaintiff,
VS.

JNTE`D.HMUlEY,WMTEN;lUWUElMTKN,RMMPN;
SNWIU R. PEMHBELL, ASIIINHEWMUEN; EU£N

GN§DOMN CHHT`MEUKMl.OEFKER; EUIM WD@EHEEN, )
CZHM(); S. SUDMUIMRA, C…ldO ,KHHH`JIEB, ' g

lEHlIH CMH§PMNAGER; IR,. Y. PAIK, ORH{IYIEC
SHKLEN; DR. rl. PHPHDHIB, PRIMARY(]HE}PHYSDIUWD
JIJE UFGB,ITIHCMJRHIDD SIPRWEDR;RB}DRD )
MEHUIL, SHYRVIIR RJLII;`KHNIIE MHALRUZ, )
LHIBEEI)VCCKIK}ML MBEDH JANE DIIFHOHHH L.V.)
N.; S. CHHMK, SUHIWIKR HDBIGHJTWIMPEIY; )
' E. EWHUIT, P. T. ,JME]UIEAWLA, SHKIMHY )
CllNlC H]IIXIER )

\_/\_/\.._/\_/\._/\.._/\_/\._/

 

 

 

 

PREVIOUS LAWSUITS AND EXHAUSTION OF aDMINISTRATIVE REMEDIES

There have been no previous lawsuits filed regarding the claims and

allegations; and there is a grievance procedure within the C.D.C.R. which
has been exhausted, shown by_exhibits herewith. '
GENERAL ALLEGATIOH
1) This is a complaint for damages for defendants' deliberate
indifference to the serious medical needs of plaintiff Perry L. Tatmon during
his confinement by the California Department of Corrections and Rehabilitation
(hereinafter "C.D.C.R."), at Avenal State Prison (hereinafter "A.S.P.").
2) This action arises under 42 U.S.C.§l983 and jurisdiction is based upon
28 U.S.C.§l33l and §1343.
3) All of the conduct rise to the claim alleged herein arose in Kings

County, California. There for venue is proper under 28 U.S.C.§1391(b)(2).

 

10
11
12
13
14
is
16
17
18
19
20
21
22
23
24
25
26
27

23

 

CaSe 1:08-cv-00695-BLW-I\/|HW Document 1 Filed 05/19/08 Page 2 of 20

4) Plaintiff Tatmon, is and was at all relevant time mentioned herein an
inmate in the custody, control, and care of "C.D.C.R." employees at various
correctional institutions including "A.S.P.". Plaintiff Tatmon has been an
inmate at "A.S.P." since April 29, 2003.` At all time during his
incarceration, Plaintiff Tatmon has relied on the medical care provider at
"C.D.C.R." prisons to provide him with necessary medical care.

5) Plaintiff Tatmon asks this court to judicially note that under
(Federal Rules of Evidence 201) that on May 5, 2005 the Honorable Thelton
Henderson United States District Court for the Northern District of

California, CO.#C01-1351 TEH Plata vs. Schwarzengger, Found that the

California Department of Corrections and Rehabilitation Medical Department has
been found to be constitutionally inadequate. Plaintiff Tatmon request this
finding be deemed binding in this proceeding.
PARTIES
A) Perry L. Tatmon (hereinafter llPlaintiff Tatmon"}is the plaintiff in

this case and, resides at "A.S.P." Facility 610-1-17L at Avenal, California

93204. From February 14, 2002 until present day Plaintiff Tatmon was and at
all times relevant an inmate in the custody of "C.D.C.R." at all times during
plaintiffs incarceration he relied on medical care providers at "C.D.C.R."
prisons to provide him with necessary medical care.

B) James D= Hartley is a defendant in the case, (hereinafter "Defendant

Fartley"). Defendant Hartley was during part of the time relevant herein

employed by "C.D.C.R." as the Warden at "A.S.P." l-Kings Way, Avenal,
California 93204, and is charged with overall responsibility for the
operation, management, and administration of "A.S.P.". He had the additional
responsibility for supervision, training, correcting, and discipline of all

staff, and prisoners under his charge. He had further duty to review, act

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 3 of 20

upon complaints appeals alleging neglect, denial, and delay as

well as inadequate medical care, mistreatment, or constitutional

rights violations of all under his charge. He is being sued
in his indivdual Capacity.

C) Lonnie watson is a denfendat in the case, (hereinafter
"Defendant Watson"). "Defendant watson" was during part of the
time relevant herein employed by "C.D.C.R." as the marden at
"A.S.P.T 1-Kings Way, Avenal, California 93204. Plaintiff Tatmon
is informed, and therefore believes that denfendant has resigned,
or was terminated as the Warden of "A.S.P." within the last year
and as necessary will amend this pleading to allege the specific

time frame of his services at "A.S.P." when it is ascertained»

"Defendant WatsonV'as the Warden of "A.S.P." was charged with

the overall responsibility for operation, management, and admini-
stration of "A.S.P.". He had the additional responsibility for
supervision, training, correcting, and discipline of all staff,

and prisoners under his charge. He had further duty to reviewr

act upon complaints or appeals alleging neglect, denial, or delay
as well as inadequate medical care, mistreatment, or constitutional
rights violations of all under his charge. He is being sued

in his individual capacity.

D) Sandra K. Pennywell is a denfendant in the case. (Here-
inafter "Defendant Pennywell"). "Defendant Pennywell" was during
part of the time relevant herein employed by "C.D.C.R." as an
Assiciate warden at "A.S.P." 1-Kings Way, Avenal, California
93204, C Facility - 6 yard. "Plaintiff Tatmon" is informed,
and therefore believes that "Defendant Pennywell" has transferred

job positions in the last year; as necessary plaintiff will amend

 

10

11

12

13

14

15

16

17

13

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 4 of 20

this pleading to allege the specific time frame of "Defendant

Pennywell" services at "A.S.P." when it is acsertained. "Defendant

Pennywell" as the Associate warden for Facility - 6 yard was

in charge of overall responsibility for the operation, management,

and administration of Facility - 6 yard at "A.S.P.". She had

the additional responsibility for supervision, training, correcting,

ordischdine of all staff and prisoners under her charge. She

had further duty to review or act upon complaints, and appeals

alleging neglect, denial, or delay as well as in adequate medical

care, mistreatment, or constitutional rights violations of all

under her charge. She is being sued in her individual capacity.‘
E) Ellen Greenman is a defendant in the case. (Hereinafter

"Defendant Greenman"). "Defendant Greenman" was during part

of the time relevant herein employed by "C.D.C.D.R." as the Chief

medical officer (Hereinafter "c.m.o." at "A.s.P." 1_`Kings wAy,

Avenal} California 93204. "Plaintiff Tatmon" is further informed,

and believes that "Defendant Greenman" is a properly trained,

and licensed medical doctor who was responsible for all inmates

at "A.S.P." this included, but was not limited to the supervision

direction and/or proper training of the medical staff at "A.S.P."
in delivery of health care services, and_the management of health

care programs, involvement in the determiniation of proper medical

care, including, but not limited to having authority to order
or approve medical tests, treatment or ensure proper care is

delivered to inmates at "A.S.P.". "Defendant Greenman" having

authority, and responsibility for ensuring the proper ordering
or stocking of medical supplies, communication of medical needs

to correctional custody staff, and generally ensuring proper

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 5 of 20

treatment is provided to all inmates. "Defendant Greenman" was
responsible for ensuring that all "A.S.P.“ medical staff, or

all other providers with whom the "C.D.C.R.", or "A.S.P." con-

.tracted in providing medical care to inmates at “A.S.P." and

that such individuals knew and understood, and acted pursuant
to "C.D.C.R." POLICY. At all times mentioned "Defendant Green-

man" was acting under the color of state law in the course and

scope of her employment and is dued herein in her individual
capacity;

F) Erica wienstein is a defendant in the case. (Hereinafter
"Defendant wienstein") "Defenant wienstein" was during part
of the time relenvant herein emplyed by "C.D.C.R." as "C.M.O."
at "A.S.P." 1-Kings Way, Avenal, California 93204. "Plaintiff
Tatmon" is further informed, and believes that "Defendant Wien~
stein" has transferred job positions in the last year; as nece-
ssary,r plaintiff wil amend this pleading to allege the specific
time frame of "Defendant Wienstein" services at A.S.P." when
it is ascertained. "Plaintiff Tatmon" is informed and believes
that "Defendant Wienstein" isla properly trained, and licensed
medical doctor who was responsible for all inmates at "A.S.P.T
This included, but was not limited to, the supervision, direction,
and/or proper training of the medical staff at "A.S.P." in
the delivery of health care services or the management of health

care \prgrams, involvement in the determination of proper medical care for

.inmates, including, but not'limited toy having authority to order or approve

medical test, treatment, and ensure care is delivered to inmates at "A.S.P."
"Defendant Wienstein" having the athority, and responsiblity for ensuring

proper ordering and stocking of medical supplies, communication of medical'

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 6 of 20

needs to correctional custody staff, and generally ensuring proper treatment is

provided to all inmates. "Defendant Wienstein" was responsible for ensuring

all "A.S.P." medical staff or all other providers with whom "C.D.C.R." or "A.S.
P." contractied in providing medical care to inmates at A.S.P." knew, understood,
and acted pursuant to "C.D.C.R." policy at all times mentioned. "Defendant Wien-
stein" was acting under teh color of state law in the course and scope of her
employment and is sued herein in her individual capacity.

G) S. Suryadevara is a defendant in the case (Hereinafter "Defendant

Suryadevara") was during part of the time relevant herein employed by C.D.C.R."
as the "C.M.O." at "A.S.P." l-Kings Way, AVenal, California 93204. "Plaintiff
Tatmon" is further informed, and believes that "Defendant Suryadevara" has

tranfer job positions in the last year, and as necessary will amend this plead-

ing to allege the specific time frame of "Defendant Suryadevara" services at
"A.S.P." when it is ascertained. "Plaintiff Tatmon" is informed, and believes

that "Defendnat Suryadevara" is a properly trained, and licensed medical doc-

tor who was responsible for all inmates at "A.S.P.". This included, but was
not limited to the supervision, direction and/or proper training of the medical
staff at "A.S.P." in the delivery of health care services, and the management

of health care programs. Involvement in the determination of proper medical

care for inmates, including, but not limited to having authority to order, and
approve medical test, treatment, and that care is delivered to inmates at

"A.S.P.". "Defendant Suryadevara" having the authority, and responsibility for

ensuring the proper ordering, and stocking of medical supplies, communication
of medical needs to correctional custody staff, and generally making sure that

proper treatment is provided to all inmates. "Defendant Suryadevara" was re-

sponsible for ensuring that all "A.S.P." medical staff, and all other providers
with whom the "C.D.C.R." or "A.S.P." contracted in providing medical care to

inmates at "A.S.P.". Knew, understood, and acted pursuant to "C.D.C.R."

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

23

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 7 of 20

policy at all times mentioned. "Defendant Suryadevara" was acting under the
color of state law in the course, and scope of his/her employment, and is sued
herein in his/or her individual capacity.

H) Kathy Jones is a defendant in the case (Hereinafter "Defendant Jones")

was during part of the time relevant employed by "C.D.C.R." as the Health Care

Manager (Hereinafter "H.C.M,") at Avenal State Prison (Hereinafter "A.S.P."),
l-Kings Way, Avenal, California 93204. "Plaintiff Tatmon" is informed, and
believes that "Defendant Jones" has transferred job positions in the last year.
As necessary plaintiff will amend this pleading to allege the specific time
frame of "Defendant Jones" services at "A.S.P.". "Plaintiff Tatmon" is in-
formed, and believes that "Defendant Jones'1 is a properly trained, qualified

health care provider. This includes, but not limited to supervision, direction

of Medical Clinics, the delivery of health care services or management of health
care programs. At all times mentioned herein "Defendant Jones" was acting under
color of state law in the course, and scope of her employment, and is sued7
herein her individual capacity.

l) Young Paik is a defendant in the case. (Hereinafter "Defendant Paik").
Located: Pacific Orthopedic Medical Group (Hereinafter "P.O.M.G."), 2619 "F"
Street, Bakersfield, California 93301. "Defendant Paik" was during the time

relevant contracted by "C.D.C.R." at "A.S.P." l-Kings Way, Avenal, California
93204 as an Orthopedic Surgeon, and Specialist. "Plaintiff Tatmon" is in-
formed, and believes that "Defendant Paik" is a properly trained, licensed
doctor who has been responsible for the medical care of inmates at "A.S.P.".

At all time mentioned herein "Defendant Paik" was acting under color of state
law in the course and scope of his employment and is sued herein his individual
capacity. \

J) J. Pappenfus is a defendant in the case. (Hereinafter "Defendant

Pappenfus" was during the time relevant employed by MC.D.C.R." at "A.S.P."

 

10
11
12
13
14
15
-16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 8 of 20

located at l-Kings Way, Avenal, California 93204 as a Primary Care Physician.
"Plaintiff Tatmon" is informed, and believes that "Defendant Pappenfus is a
properly trained, licensed medical doctor who is, and has been responsible for

the medical care of inmates at "A.S.P.". At all time mentioned herein defend-

ant was acting under color of state law in the course and scope of his employ-
ment and is sued herein his individual capacity.

K) Julie Dukes is a defendant in the case. (Hereinafter "Defendant
Dukes") was during part of the time relevant herein employed by "C.D.C.R."
at "A.S.P." l-Kings Way, Avenal, California 93204. "Plaintiff Tatmon" is

informed and believes that "Defendant Dukes" is employed as a Supervisor of

Medical Records at "A.S.P." and is properly trained, and qualified as a Mana~
ger of Records Department. This included, but is not limited to, directing,
over*seeing personnel under her charge. ln the course and scope of her employ~
ment and is sued in her individual capacity.

L) Richard Merrills is a defendant in the case. (Hereinafter "Defendant
Merrills") was during the time relevant employed by "C.D.C.R." at "A.S.P."

l-Kings Way, Avenal, California 93204 as a Registered Nurse Supervisor, R.N.

ll. l'Plaintiff Tatmon" is informed and believes that "Defendant Merrills" is

a properly trained and licensed Registered Nurse. This included but was not

limited to the supervision and direction of other under his charge. "Defendant
Merrills" was acting under the color of state law in the course, and scope of
his employment and is sued herein his individual capacity.

M) John Doe Delacruz is a defendant in the case. (Hereinafter "Defend-
ant Delacruz") was during part of the time relevant herein employed by "C.D.C.
R." at "A.S.P." l'Kings Way, Avenal, California 93204 as a Licensed Vocational

Nurse (Hereinafter "L.V.N."). "Plaintiff Tatmon" is informed, and believes
that "Defendant Delacruz" has transferred, or was terminated from his job

position in the last year; as necessary plaintiff will amend this pleading to

 

10

11

12

13

14

15

16

`17

18

19

20

21

22

23

24

25

26

27

28-

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 9 of 20

allege the specific time frame of his services at "A.S.P.". "Plaintiff Tatmon"

is informed, and believes that "Defendant.Delacruz" is a properly trained,

licensed Registered Nurse who was responsible for the medical care of inmates
at "A.S.P.". At all times mentioned herein "Defendant Delacruz" was acting
under the color of state law in the course, and scope of his employment, and
is sued in his individual capacity.

N) Jane Doe Myoral is a defendant in the case. (Hereinafter "Defendant
Myoral") was during part of the time relevant employed by "C.D.C.R." at "A.S.P."
l~Kingslday, Avenal, California 93204 as a Licensed Vocational Nurse (Hereinafter
"L.V.N."). "Plaintiff Tatmon" is informed, and believes that "Defendant My-
oral" is a properly trained, and licensed Registered Nurse who is, and has

been responsible for the medical care of inmates at "A.S.P.". At all times

mentioned herein "Defendant Myoral" was acting under the color of state law in
the course, and scope of her employment, and is sued her individual capacity.
0) Steve Chabak is a defendant in the case. (Hereinafter "Defendant
Chabak") was during the time relevant contracted by the "C.D.C.R." at "A.S.P."
l-Kings Way, Avenal, California 93204 as a Physical Therapist (Hereinafter
"P.T."). "Plaintiff Tatmon" is informed, and believes that "Defendant Chabak"
is a properly trained, and licensed "P.T.". This includes1 but is not limited

to the supervision, and direction of other Physical Therapist under his charge.

At all times mentioned herein "Defendant Chabak" was acting under color of

state law in the course and scope of his employment and is sued herein his

individual capacity.

P) Estelle Everett is a defendant in the case (Hereinafter "Defendant
Everett") was during the time relevant contracted by "C.D.C.R." at "A.S.P."
! Kings Way, Avenal, California 93204 as a Physical Therapist (Hereinafter
"P.T."). "Plaintiff Tatmon" is informed, and believes that "Defendant Everett".

is a properly trained, and licensed "P.T.". At all times mentioned herein

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 10 of 20

"Defendant Everett" was acting under color of state law in the course, and scope
of her employment and is sued herein her individual capacity.

Q) Jane Due Avala is a defendant in the case. (Hereinafter "Defendant
Avala") was during part of the time relevant herein employed by "C.D.C.R." at
"A.S.P." l-Kings Way, Avenal, California 93204. "Plaintiff Tatmon" is in-
formed, and believes that "Defendant Avala" is employed as the Specialty
Clinic Scheduler, (Hereinafter "S.C.S.") at "A.S.P." and is properly trained,
and qualified at assignment of specialty clinic, and medical programs for
inmates at "A.S.P.". This includes but is not limited to the "S.C.S." job
description. "Defendant Avala" at all times mentioned herein was acting under
the color of state law in the course, and scope of her employment, and is sued

in her individual capapcity.

 

10

11

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 11 of 20

PRELIHINARY STATEMENT

"Plaintiff Tatmon" sustained a severe injury to the left hip area on November
ll, 2002 at Pleasant Valley State PRison. (hereinafter "P.V.S.P.") located:
24863 - West Jayne Avenue, Coalinga, California 93210-1135. "Plaintiff Tatmon"
.was diagnosed to have sustained an 1'lnpact femoral neck fracture" by the on
duty primary care physician (hereinafter "P.C.P.") Dr. Kim at "P.V.S.P.".

0n or about January 2005 it was found that "Plaintiff Tatmon" had injuried
the left foot breaking a bone off the heel, and damaging the achillies tendon.

0n April 29, 2003 "Plaintiff Tatmon" transferred from P.V.S.P." to "A.S.P."
upon arrival "Plaintiff Tatmon" attempted on several different occasions to n
gain medical attention for injured hip, 1'Plaintiff Tatmon" filed "C.D.C.R."

inmate appeal 602 form (hereinafter "C.D.C.R. 602") against "Defendant Pappenfus"
for denial of medical care September 20, 2004

March 17, 2005 "Plaintiff Tatmon" was examined by Dr. Yen at "A.S.P."
facility 4 yard clinic. A request for services was ordered for "Plaintiff
TAtmon" to be examined by orthopedic specialist for injured foot and hip.

Exh B.

April 25, 2006 "Plaintiff Tatmon was examined by Dr. Blackwell at "A.S.P."
390 infirmary after being delayed care or being examined by orthopedic special-
ist. 1'Plaintiff was once again referred to orthopedic specialist.l "Plaintiff

Tatmon" was classified disabled.
June 7, 2006 Dr. R. Gonzales, Facility 6 Yard Primary Care Physician at

"a.S.P." prepared an orders, "R.F.S." for "Plaintiff Tatmon" to have l)"urgent"
7orthopedic-consultation. 2)"R.F.S." for left hip, left foot. 3)"R.F.S." podiatry
consutation. Exh
July 20, 2006 "C.D.C.R. 602" filed against "Defendant Dukes alleging she
hindered, and interred with "Plaintiff Tatmon" effort to acquire medical care.

April 9, 2007 "Plaintiff Tatmon" was transported to "P.U.M.G." examined

by "Defendant Paik" who diagnoses as follow: "Plaintiff Tatmon" is in need

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 12 of 20

of "Hemiarthoplasty Hip Replacement" possible total hip depending on finding
during surgery proceeding.

May 23, 2007 "Plaintiff Tatmon'1 was transported to Mercy Hospital located:
2215 Truxton Avenue, Bakersfield, California 93301. Where "Total Arthoplasty
Hip Replacement was preformed. Patient discharge (7) seven days later May
30, 2007 .

May 31, 2007 "Plaintiff Tatmon" was examined by Dr. Castillo "P.C.P."

on Facility 6 yard "A.S.P.". Dr. Castillo prepared a "R.F.S." order for "Ur-

gent" Physical Therapy for "Plaintiff Tatmon".

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 13 of 20

June 18, 2007 "Plaintiff Tatmon" was transported to P.O.M.G." for follow-
up, and post-op surgery for arthoplasty hip replacement. "Defendant Paik"
inquired if "Plaintiff Tatmon" had received physical therapy. Response "No,

l have not." Defendant Paik prepared orders for "Plaintiff Tatmon" to receive
physical therapy, and to be returned to P.O.M.G." in (60) days for follow-up
examination.

Since returning from surgery May 30, 2007 "Plaintiff Tatmon" has not re-
ceived any physical therapy up to 0ctober 15, 2007 which has caused complication
in the healing process, constant, and continuous pain daily. "Plaintiff Tatmon"

has to take pain management medication daily from May 30, 2007 to present day,.

past the normal recovery period. "Plaintiff Tatmon is unable to preform normal
daily activities at present.

On several occasions needed pain medication was denied to "Plaintiff Tatmon"
"C.D.C.R." 602" staff complaints filed: l) August 24, 2007 against "Defendant
Delacurz" for denial of prescribed pain medication. 2) September 3, 2007 agains{`

"Defendant Myoral" for denial of prescribed pain medication.

August 24, 2007 "Plaintiff Tatmon" was examined by Podiatry at "A.S.P."
390 lnfirmary. "Plaintiff Tatmon" was to return in sixty (60) days, "Plaintiff
Tatmon" still has not been returned to Podiatry in seven (7) months.

September 3, 2007 "Plaintiff Tatmon" was transported to "P.O.M.G." for
follow-up post-op hip surgery. "Plaintiff Tatmon" still has not received phy-

sical therapy for arthoplasty surgery procedure.

Since returning from last follow-up visit to "P.O.M.G." post op for artho-
plasty hip replacement on September 20, 2007. "Plaintiff Tatmon has not received
any physical therapy or strength training for his leg. Two additional "C.D.C.R."
602 filed: l) October 15, 2007 "Staff Complaint" against "Defendant lvatson'1
for depriving "Plaintiff Tatmon of needed medical care for a serious medical

condition. 2) 0ctober 15, 2007 "Staff Complaint" against "Defendant Pennywell"

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 14 of 20

for denial and delay of adequate medical care.
November 17, 2007 Staff complaint filed against "Defendant Avala" after

several attempts to inquire about not receiving physical therapy.

"Plaintiff Tatmon" agreed to arthoplasty hip surgery with the understanding

that "P.O.M.G." and “A.S.P." would provide necessary care pre-op and post-op
surgery care in the form of precautionary measures against infection, or re-
jection of new prosthetics, physical or occupational therapy, and pain manage-
ment medication. Plaintiff has attempted numerous occasions to obtain care
for complications for lack of physical therapy. "Plaintiff Tatmon" has filed
several "C.D.C.R. 602" for not providing physical therapy after hip surgery,

not providing care for injury foot, intentionally withholding pain medication

and having knowledge of serious medical needs, and depriving "Plaintiff Tatmon"

of adequate medical care. "Plaintiff Tatmon" is unable to perform normal daily

activities because of substantial weakness, and obvious damage to the leg.
"Plaintiff Tatmon" has intentionally been harassed by correctional custody

staff in the means of intimidation for plaintiff filing numerous "C.D.C.R."

602" staff complaints in his pursuit to gain proper medical care. "Plaintiff

Tatmon" has thus exhausted his administrative remedies for the claim herein.

CAUSE OF ACTION

Defendants: James 0. Hartly, Lonnie Watson, Sandra K. Pennywell, Ellen Greenman,
Erica Wienstein, S. Suryadevara, Kathy Jones, Young Paik, J. Pappenfus, Richard
Merrills, Steve Chabak, Estelle Everett, John Doe Delacruz, Jane Doe Myoral,
Jane Doe Avala, and Julie Dukes, failure to address "Plaintiff Tatmon" request
and needs for medicaf?€fhe denial, delay, and interference of such care consti-
tute a deprivation of "Plaintiff Tatmon" federally protected constitutional
rights to adequate medical care which is in violation of the Eight Amendment

to be free of cruel, and unusual punishment. This conduct falls under 42 U.S.C.

§1983.

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 15 of 20

SECOND CAUSE OF ACTION
Based on the federal court finding on May 10, 2005 that "C.D.

C.R." medical delivery system was in utter disarray, between November

17, 2007 defendants: Hartley, Watson, Pennywell, Greenman, Wienstein,
Suryadevara, Jones, Paik, Pappenfus, Merrills, Chabak, Everett,
Delacruz, Myoral, and Avala violated "Plaintiff Tatmon" Eight
Amendment Rights under 42 UrS.C. §1983 by neglegently refusing
to provide constitutionally adequate medical care. By providing
gross, insufficient medical care resulting in prolonged pain,
suffering and mental anguish over an extended period of time.

THIRD CAUSE OF ACTION
Between the dates of April 29, 2003, and November 17, 2007 defend-

ants: Hartley, Watson, Pennywell, Greenman, Wienstein, Suryadevara,
Jones, Paik,_Pappenfus, Merrills, Chabak, Everett, Delacruz,

Myora, and Avala violated "Plaintiff Tatmon" Eigth Amendment

Rights under 420.S.C. §1983 by provding callous indifference

to constitutionally adequate, and necessary medical attiention,

and care resulting in prolonged pain, suffering, and mental anguish

over an extended period of time as well as continued suffering.

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 16 of 20

CLAIM FOR RELIEF
"Plaintiff Tatmon" refer, and incorporates by reference allegations of
the preliminary statement. "Plaintiff Tatmon" medical conditions described

herein constitute a serious medical need and failure to treat the conditions

has resulted in significant injury, and the ongoing failure to treat it is

likely to cause more serious injury. Said injuries has included but not necess-
arly been limited to a impacted femoral neck fracture, degenerative joint disease,
fractured foot, and damaged achilles tendon as well as continuous, and severe
pain. "Plaintiff 'l`atmon'r medical condition also significantly effects his

normal activities in each, and every day life.

"Plaintiff Tatmon" thereon alleges that defendants: Hartly, Watson, Penny-
well, Greenman, Wienstein, Suryadevara, Jones, Paik, pappenfus, Chabak, Everett,

Merrills, Delacruz, Myoral, Avala, and Dukes have acted intentionally in a

' manner described herein, or above with knowledge of "Plaintiff Tatmon" serious

medical need in violation of plaintiff Eight Amendment right to be free from

cruel, and unusual punishment.

Approximate result of defendants conduct "Plaintiff Tatmon" has suffered,
and continues to suffer general damages in the form of severe pain and suffering,
and emotional distress from being unable to ambulate normally, or perform daily
activities. lt is further believed that he will continue to suffer such damages
in the future.

As a further proximate result of defendants conduct herein or above "Plain-
tiff Tatmon" believes and thereon alleges that he will suffer special damages
in the future in the form of medical expenses for treatment of his conditions,
or loss of income.

In acting as described herein or above defendants acted despicably, know-
ingly, willfully, maliciously with reckless or callous disregard, and depriva*

tion of "Plaintiff Tatmon" federally protected rights entitling "Plaintiff

 

10

11

12

13

14
15
16
17
18
d 19
20
21
22
23
24
25

26

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 17 of 20

Tatmon" to an award of compensatory, and punitive damages.
l RELIEF REQUESTED
"Plaintiff Tatmon" ask that you grant judgment against defendantas follows:
A. Award plaintiff compensatory damage against defendants: James D;

Hartley, Lonnie Watson, and Sandra K. Pennywell in the amount of $500.000.00

individually, and separately.

B. Award plaintiff compensatory damages against defendants: Ellen Greenman,
Erica Wienstein, S. Suryadevara, J. pappenfus, Young Paik, and Kathy Jones
iin the amount of $350.000.00 individually, and separately.

C. Award plaintiff compensatory damages against defendants: 'Steve Chabak

Estelle Everett, Richard Merrills, Jane Doe Avala, Jane Doe Myoral, John Doe

Delacruz, andel e Dukes in the amount of $150.000.00 individually, and separately.

D. Award plaintiff punitive damages against defendants: James D. Hartley,

Lonnie Watson, and Sandra K. Pennywell in the amount of $300.000.00 individually,
and separately.

E. Award plaintiff punitive damages against defendants: Ellen Greenman,
Erica Wienstein, S. Suryadevara, J. Pappenfus, Young Paik, and Kathy Jones
in the amount of $200,000.00 individually, and separately.

F. Award plaintiff punitive damages against defendants: Steve Chabak,

Estelle Everett, Richard Merrills, Jane Doe Avala, Jane Doe Myoral, John Doe
Delacruz, and Julie Dukes in the amount of $100,000.00 individually, and sepa-
rately.

G. Award reasonable attorney fees and court cost.

H. Grant such other, and further relief this court deems just, proper,
and equitable. n

CONCLUSION

All remedies have been exhausted at all previous levels "Plaintiff Tatmon"

injured himself, and tried to get medical attention through proper channels

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 18 of 20

within the "C.D.C.R." policy.7 Even after denial, and delay of medical care
for several years for the injured hip, and foot. Numerous."C.D.C.R." 602

appeals written, and granted, medical care was still delayed.

After receiving total arthoplasty hip replacement surgery. "Plaintiff
Tatmon" trusted, and believed he would receive adequate medical care by means
of physical therapy. "Plaintiff Tatmon'1 also believed he would receive long
term precaution advice on how to avoid injuring, dislocation, and adequate

post-gp Care for his left hip, "Plaintiff Tatmon" believed he would receive

adequate care for his injured foot to prevent further injury. Defendants
have failed to competently act, and respond to "Plaintiff Tatmon" serious

medical needs. Defendants have denied, and delayed access to medical, and

intentionally interfered with treatment that was prescribed, and requested

by surgeons, and primary care physician. The actions are reckless, and without

l regards to "Plaintiff Tatmon" constitutional rights. By these actions "Plain-

tiff Tatmon" has lost full range of motion in left legl unable to ambulate

most day's because of foot, as well as continuous swelling, and severe pain

"Plaintiff Tatmon" has extreme trouble performing normal daily activities

which is causing great emotional stress. "Plaintiff Tatmon" prays that the

court will honor this claiml and rule in his favor wherefore "Plaintiff Tatmon"
ask this honorable court to expedite matter, and to grant "Plaintiff Tatmon"

compensatory, and punitive damage in plaintiffs favor.

 

10

11

12

13

14

15

16

17

18

19

20

`21

22

23

24

25

26

27

28

 

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 19 of 20

VERIFICATION

1 declare under the penalty of perjury that the foregoing is ture, and
correct, dated this at Avenal State Prison, Avenal

California.

 

Perry L. Tatmon
Plaintiff in Pro Per

Plaintiff Perry L. Tatmon hereby request a trial by jury in this cause

of action.

Datede

 

Perry L. Tatmon
Plaintiff in Pro Per

 

Case 1:08-cv-00695-BLW-|\/|HW Document 1 Filed 05/19/08 Page 20 of 20

PROOF OF SERVICE BY MAIL

I THE UNDERSIGNED. (."ERTIFY THAT l AM OVER THE AGE OFI".IGHTEEN 1181 YEARS OF AGE. TH.¢\TI

cv\uSEp To as SERvED ,\ coPY oF THE FoLLowlNo ocouMEN'r:
ENTITLED: 42 U.S.C. §1983 Civil Rights Complaint, Demand for Jury

Trial

 

 

 

uYPLACmGiHESAME|NANENvELoPsSEAuNGlTBEFoREAcoRRECnoNALoFchR
,\No oEPoslTlNo n lN THE[ uivlr££) STATES MAIL | AT AvF_N,\L STATE PRlSoN AND ,\ooRESSL=.DlT
'ro THE FoLl.owlNo;
Clerk of the Court
U.S. District Court
Eastern District of California
501 "l" Street, Suite 4-2000
Sacramento, CA 95814

EXECUTED ON . .30 A'l` AVEN:\L STATE PR|SON. AVENAL CALIFORN|A

l_ Bria“ Sea“ Palo pEcLARE uNDER n-n€ PHNALTY oF PERJURY uNl)eR THE raw

Ol" THE STATIZ OF CALIFORN|.~\ THAT THE FOREGO[NG 15 TRUI{ AND CORRECT.

/

_f

/.
SlonfR"EJ()F cl.ARANT

 

Brian Sean Palo, K-00167
PRINT NAME oF DECLARANT

 

PRO PER.

